      Case 21-59310-jrs          Doc 17     Filed 02/18/22         Entered 02/18/22 16:47:25            Desc Ntc to
                                           Db re Filing Fee        Page 1 of 1

                                     UNITED STATES BANKRUPTCY COURT

                                              Northern District of Georgia


In     Debtor(s)
Re:    Sonja Denise Reid                                       Case No.: 21−59310−jrs
       5196 Olivia Trail Lot 198                               Chapter: 7
       Stone Mountain, GA 30088

       xxx−xx−6102


                                                         NOTICE

NOTICE IS HEREBY GIVEN that a portion of the filing fee remains unpaid in this case in the amount of: $ 260.00

      1. The Debtor is hereby notified to pay the balance due on or before: February 28, 2022.


For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                            United States Bankruptcy Court
                                             1340 Richard Russell Building
                                               75 Ted Turner Drive, SW
                                                  Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Atlanta, Gainesville, Newnan or Rome, note that
cash is not accepted. You must remit using cashier's check, money order or attorney's check.

Payments may also be made online at: https://www.ganb.uscourts.gov/online−payments


      2. If, by the date(s) set forth above, i) the filing fee is not paid in accordance with this deficiency notice; ii) no
request for an extension of time is pending; or iii) neither the debtor nor any party in interest has requested a hearing
thereon, the Court may dismiss this case without further notice or hearing.

      The Clerk will serve this deficiency notice on Debtor, Debtor's Counsel, and Trustee.




                                                               M. Regina Thomas
                                                               Clerk of Court
                                                               U.S. Bankruptcy Court

Dated: February 18, 2022
Form 134
Revised January 2022
